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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                                  BENTON DIVISION

                                            )      Case No. 18-CV-01946-SMY-DGW
 MIGUEL HERNANDEZ,                          )
                                            )
        Plaintiff,                          )
                                            )
 v.                                         )
                                            )
 BC SERVICES, INC.,                         )
                                            )
        Defendant.                          )


                      MOTION TO STRIKE AMENDED COMPLAINT


        COMES NOW, Defendant, BC Services, Inc. (“BCS”), by its counsel, pursuant to

 Fed. Rule Civ. Pro. (“F.R.C.P.”) 12(f)(2) and hereby moves this honorable Court for an

 order striking the Plaintiff’s Amended Complaint for failure to comply with F.R.C.P. rules

 7 and 15 and SDIL-LR 15.1, and as grounds therefore states as follows:

                              CERTIFICATE OF CONFERRAL

        Undersigned counsel has conferred with counsel for Plaintiff prior to filing this

 motion. Plaintiff’s counsel indicated that Plaintiff does not take a position with regard to

 the motion, however Plaintiff would not agree to withdraw the Amended Complaint.

                                 PROCEDURAL POSTURE

        On October 12, 2018, the Plaintiff filed his Complaint. (Doc. 1). On October 15,

 2018, BCS executed a Waiver of Service. (Doc. 6). Per F.R.C.P. 12(a)(1)(A)(ii) the

 deadline for BCS to answer or otherwise respond was December 14, 2018. A week

 prior to that response deadline, BCS filed its 12(b)(6) Motion to Dismiss for Failure to

 State a Claim on December 7, 2018. (Doc. 10). Pursuant to SDIL-LR 7.1(c)(1), Plaintiff

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 has until January 10, 2019 to file a response to BCS’ Motion to Dismiss.1 Without

 conferral with counsel for BCS, nor alerting the Court, Plaintiff filed his Amended

 Complaint directly into the case via ECF on December 18, 2018. (Doc. 11).

                                              APPLICABLE LAW

          F.R.C.P. 7(a) sets forth the pleadings that may be filed in a Federal civil matter.

 The Rule 7(a) list is exhaustive. A. Bauer Mech., Inc. v. Joint Arbitration Bd. of Plumbing

 Contractors’ Ass’n & Chicago Journeymen Plumbers’ Local Union 130, 562 F.3d 784,

 790 (7th Cir. 2009). A party attempting to file beyond the pleadings enumerated in Rule

 7(a) should file a motion pursuant to Rule 7(b). Id. F.R.C.P. 15(a) governs the filing of

 an amended pleading. A party seeking leave to amend must, inter alia, submit a

 proposed amendment to the court. A court has no obligation to grant leave to amend

 where the plaintiff has not made a request to amend or does not show how defects in

 existing complaint will be cured. Haywood v. Massage Envy, 887 F.3d 329 (7th Cir.

 2018).

          In this District, Local Rule 15.1 sets forth the procedure by which parties shall

 seek to amend their pleadings. Rule 15.1 states as follows, in part:

          A proposed amendment to a pleading or amended pleading itself
          must be submitted at the time the motion to amend is filed.
          Proposed pleadings must be submitted in accordance with CM/ECF
          User’s Manual Section 2.10 titled ‘Submitting a Proposed
          Document.’

          Section 2.10 provides that proposed orders, proposed amended
          complaints … require court approval before actually being filed
          and given full effect.” (emphasis added)




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  The deadline appears in the ECF full docket text for the Motion to Dismiss, Doc. 10, and is automatically
 generated in the ECF system upon the filing of the motion.

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 A valid local rule has the effect of law, and must be obeyed. Hollingsworth v. Perry, 558

 U.S. 183, 191 (2010); Frakes v. Peoria Sch. Dist. No. 150, 872 F.3d 545, 549 (7th Cir.

 2017). Compliance with Local Rule 15.1 is expected when seeking to amend a

 complaint. Burke v. Ethyl Petroleum Additives, Inc., 359 F.Supp.2d 726, 731 (S.D.

 Illinois 2005).

                                        ARGUMENT

        Plaintiff has filed an Amended Complaint directly through the Court’s ECF system

 (at Doc. 11 ) without having followed SIL-LR 15.1. The Rule refers litigants to the ECF

 User Manual section 2.10, which directs that proposed amended complaints “require

 court approval before actually being filed” and thus, “such documents must be attached

 to an email sent to the email address of the assigned judge.” As it sets forth the

 exclusive procedure for seeking leave to file an amended complaint, by its’ operation

 Rule 15.1 prohibits a direct filing via ECF into a pending case. Plaintiff has not identified

 any exemption to the rule, nor has Plaintiff offered an argument as to why the rule

 should not apply in this instance.

        Rule 15.1 serves a valid purpose, and disregarding it here will prejudice BCS.

 Specifically, there is no order regarding the Amended Complaint, and therefore the

 parties are struggling to come to agreement on procedure and timeframes that govern

 the pleadings and procedure going forward. For instance, is the filing of the Amended

 Complaint in this fashion sufficient to render the Motion to Dismiss invalid? Must BCS

 file an Answer, or will a renewed Motion to Dismiss be permitted, and with what

 deadlines? These issues are already recognized by the Court as a valid reason for

 following the Rule 15.1 procedure. “[T]o prevent confusion, such documents must be


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 attached to an e-mail sent to the e-mail address of the assigned judge.” SDIL Chambers

 procedures for Submitting a Proposed Document, Found at

 https://www.ilsd.uscourts.gov/Judges.aspx last accessed December 27, 2018.

           More importantly, BCS has reviewed the Proposed Amended Complaint

 carefully, and it does not appear to present new or additional facts, nor claims, that

 materially change the claims that are set forth in the operative Complaint. Rule 15.1

 goes a long way to resolving these issues in an efficient, non-prejudicial fashion.

           The purpose of Rule 15.1 is readily apparent. With the benefit of Rule 15.1, the

 Court and parties are afforded an opportunity to review the new material (which must be

 underlined) to ascertain whether the proposed amendment cures defects, presents new

 or changed facts, would materially alter the litigation, or whether the amendment is

 interposed for a proper purpose. Compliance with Local Rule 15.1 is expected when

 seeking to amend a complaint. Burke v. Ethyl Petroleum Additives, Inc., 359 F.Supp.2d

 726, 731 (S.D. Illinois 2005).

           As additional authority for granting this request to strike the Plaintiff’s improperly

 filed amended complaint, BCS relies upon this Court’s Case Management Procedures

 (“CMP”).2 Therein, the Court has already advised the parties that, “Judge Wilkerson

 requires adherence to the Local Rules except in rare cases, of which he will directly

 advise parties. Therefore, questions about Local rules and procedures covered by

 such Rules should be addressed by reading the Rules….” (emphasis in original).

           All attorneys with a federal practice are generally presumed to possess a working

 familiarity with how litigation is fairly conducted under the Federal Rules of Civil


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     Found at https://www.ilsd.uscourts.gov/documents/Wilkerson.pdf last accessed December 27, 2018.

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 Procedure. Where, as here, the litigants are represented by counsel who are located

 well outside the district, the Local Rules and other guidance materials serve as a lingua

 franca of sorts, for how the respective court expects to receive the presentation of that

 litigation. It is not unreasonable to require that Plaintiff follow them. Put simply, these

 rules enable everyone, the near and the far, to participate equally. It is not unreasonable

 to require that Plaintiff follow them.

        In light of the foregoing, and pursuant to F.R.C.P. 12(f)(2), BCS requests that the

 Court strike Plaintiff’s Amended Complaint (Doc. 11).



        Respectfully submitted this December 28, 2018.




                                                    s/ Brett P. Riley ______________
                                                    Brett P. Riley (lead counsel)
                                                    General Counsel, BC Services, Inc.
                                                    550 Disc Dr.
                                                    Longmont, CO 80503
                                                    (303) 532-3674
                                                    Briley@bcservice.com
                                                    ATTORNEY FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

      I hereby certify that on December 28, 2018 I electronically filed the foregoing
 MOTION TO STRIKE AMENDED COMPLAINT with the Clerk of Court using the
 CM/ECF system which will cause service to be accomplished to:

 Kristen Wasieleski
 Consumer Law Partners, LLC



                                                    s/ Brett P. Riley____________


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